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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
           Plaintiff,                               )
                                                    )
 v.                                                 ) No. 4:20 MJ 7180 SPM
                                                    )
 MICHAEL J. AVERY,                                  ) FILED UNDER SEAL
                                                    )
          Defendant.                                )
                                                    )

                                   ORDER FOR DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure and by leave of this

Court endorsed hereon, the United States of America, via the United States Attorney for the

Eastern District of Missouri, hereby dismisses the complaint filed against the above-named

defendants without prejudice.



                                                      Respectfully submitted,

                                                      JEFFREY B. JENSEN
                                                      United States Attorney

                                                      /s/ Michael A. Reilly
                                                      MICHAEL A. REILLY, #43908(MO)
                                                      Assistant United States Attorney



Leave of Court is granted for the filing of the foregoing dismissal.


                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE


Dated: This _____ day of June, 2020.
